Case 2:13-cr-00176-GZS Document 177 Filed 05/29/14 Page 1 of 2                   PageID #: 576




                           UNITED STATES DISTRICT COURT
                                   District of Maine


UNITED STATES OF AMERICA,                    )
                                             )
                                             )
v.                                           )
                                             )      No. 2:13-cr-176-GZS
CRAIG MERCER,                                )
                                             )
            Defendant                        )
                                             )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on May 12, 2014, his Recommended

Decision (ECF No. 168). Defendant filed his Objection to the Recommended Decision (ECF No.

170) on May 14, 2014. The Government filed its Response to the Defendant’s Objection to the

Recommended Decision (ECF No. 171) on May 21, 2014.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
               is hereby AFFIRMED.
Case 2:13-cr-00176-GZS Document 177 Filed 05/29/14 Page 2 of 2           PageID #: 577




       2.     It is hereby ORDERED that Defendant’s Motion to Suppress (ECF No. 103) is
              hereby DENIED.




                                               /s/George Z. Singal_____________
                                               U.S. District Judge

Dated this 29th day of May, 2014.
